       Case 1:19-cr-02023-SAB     ECF No. 86    filed 11/04/20     PageID.330 Page 1 of 2




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                                                                FILED IN THE
                                                            U.S. DISTRICT COURT
2                                                     EASTERN DISTRICT OF WASHINGTON



                                                       Nov 04, 2020
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                                                           SEAN F. MCAVOY, CLERK



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5                          UNITED STATES DISTRICT COURT

6                       EASTERN DISTRICT OF WASHINGTON

7    UNITED STATES OF AMERICA,                       No. 1:19-CR-02023-SAB-1

8                        Plaintiff,                  ORDER GRANTING MOTION TO
                                                     MODIFY CONDITIONS OF
9    vs.                                             PRETRIAL RELEASE AND
                                                     MOTION TO EXPEDITE
10   MICHAEL MOSES YALLUP,
                                                     ECF Nos. 84, 85
11                       Defendant.

12         Before the Court is Defendant’s Motion to Modify Conditions of Pretrial

13   Release (ECF No. 84) and related Motion to Expedite (ECF No. 85). Neither the

14   United States nor the United States Probation Office oppose the request.

15         Specifically, Defendant requests the Court remove Special Condition No.

16   14, which requires Defendant to submit to portable breathalyzer testing. ECF No.

17   15. Due to Defendant’s supervision compliance for the past 17 months and the fact

18   he has been sentenced and permitted to self-report, the Court finds this condition is

19   no longer necessary to reasonably assure Defendant’s appearance at future court

20   hearings or to prevent danger to the community.


     ORDER GRANTING MOTION TO MODIFY CONDITIONS OF PRETRIAL
     RELEASE AND MOTION TO EXPEDITE - 1
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1          ACCORDINGLY, IT IS ORDERED:

2          1.    Defendant’s Motion to Modify Conditions of Pretrial Release (ECF

3    No. 84) is GRANTED.

4          2.    Defendant’s Motion to Expedite (ECF No. 85) is GRANTED.

5          3.    Special Condition No. 14 (ECF No. 15), which required Defendant to

6    submit to portable breathalyzer testing, shall be STRICKEN.

7          DATED November 4, 2020

8                               s/Mary K. Dimke
                                MARY K. DIMKE
9                      UNITED STATES MAGISTRATE JUDGE

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     ORDER GRANTING MOTION TO MODIFY CONDITIONS OF PRETRIAL
     RELEASE AND MOTION TO EXPEDITE - 2
